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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER GRANTING LEAVE TO FILE
                                                   SUR-REPLY AND TO SUPPLEMENT
   Caccia et al. v. Monsanto Co., Case No.         THE RECORD
   20-cv-01915-VC
                                                   Re: Dkt. No. 17894



       The motion is granted to the extent that the plaintiffs may file a sur-reply addressing the

issue identified in their motion. The sur-reply should not exceed five pages. The plaintiffs may

also supplement the record with the missing pages of Braunstein’s deposition.

       IT IS SO ORDERED.

Dated: February 16, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
